Case 3:17-cr-00147-T.]C-PDB Document 20 Filed 11/21/17 Page 1 of 1 Page|D 29

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JACKSONV|LLE, FLOR|DA
United States District Court
Middle District of Florida 11 11/[ 7
Jacksonville Division
U.S. D|STR|CT COURT
UNITED STATES OF AMERICA MlDDLE DlSTRlCT OF FLOR|DA

V. NO. 3:17-cr-147-J-32PDB

MIGUEL PACHECO-LOPEZ

 

Notice Regarding Entry of Guilty Plea

In the event the defendant decides at any time before trial to enter a plea of
guilty, Local Rule 6.01(c)(12) authorizes the United States Magistrate Judge, with
the defendant’s consent, to conduct the proceedings required by Fed. R. Crim. P. 11,
incident to the making of the plea, If, after conducting the proceedings, the
Magistrate Judge recommends that the District Judge accept the guilty plea, a
presentence investigation and report Will be ordered as required by Fed. R. Crim. P.
32. The District Judge will then act on the Magistrate Judge’s recommendation, and,
if the District Judge accepts the guilty plea, will adjudicate guilt and schedule a
sentencing hearing, at which the District Judge will decide whether to accept or reject

any plea agreement and determine and impose sentence.

Consent

I'declare my intention to enter a guilty plea in this case, and I request and consent to
the United States Magistrate Judge conducting the proceedings required by Fed. R. Crim.. P.
11, incident to the making of the plea. I understand that if the District Judge accepts my guilty
plea, the District Judge will decide whether to accept any plea agreement that I may have with
the United States and will adjudicate guilt and determine and impose sentence.

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Date DEF#@ANT’$/ATTORNEY Date

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